Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
Case 1-16-43278-nhl   Doc 4   Filed 09/18/16   Entered 09/18/16 13:27:51
